                                                                                  Case 1:10-cv-05791-NJV Document 6 Filed 03/28/11 Page 1 of 1



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                                                                         4                                  UNITED STATES DISTRICT COURT
                                                                         5                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         6                                         EUREKA DIVISION
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                                                                         8    SAUL LEFORT,                                      No. C 10-05791 NJV
                                                                         9                 Plaintiff(s),
                                                                                                                                CLERK'S NOTICE VACATING
                                                                         10         v.                                          MARCH 29, 2011 HEARING
United States District Court




                                                                         11   CORY G HICKS,
                               For the Northern District of California




                                                                         12               Defendant(s).
                                                                              ___________________________________/
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                                                                         14   TO ALL PARTIES AND COUNSEL OF RECORD:
                                                                         15
                                                                         16   In light of the Notice of Voluntary Dismissal on file in this matter, YOU ARE NOTIFIED THAT
                                                                         17   the hearing before Magistrate Judge Vadas previously noticed for March 29, 2011 is HEREBY
                                                                         18   VACATED.
                                                                         19
                                                                         20   Dated: March 28, 2011
                                                                                                                              FOR THE COURT,
                                                                         21                                                   Richard W. Wieking, Clerk
                                                                         22
                                                                         23                                                   by: /s/
                                                                                                                                        Gloria Masterson
                                                                         24                                                             Courtroom Deputy
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